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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
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 5   ATTORNEY FOR DEFENDANT
     LIBORIO RUIZ LOPEZ, JR.
 6
 7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                        EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       )              CR.-S-03-362-GEB
                                     )
11        PLAINTIFF,                 )              REQUEST TO RELEASE AND
                                     )              ORDER BAIL POSTED
12        v.                         )              EXONERATED
                                     )
13   LIBORIO RUIZ LOPEZ, JR.,et al., )
                                     )
14                                   )
          DEFENDANTS.                )
15   _______________________________)
16
           On September 14, 2007, this Court sentenced the defendant, LIBORIO RUIZ
17
     LOPEZ, JR., to 36 months probation. (See Docket entry # 100). On October 1, 2007,
18
     this Court entered the judgment and commitment Order as to the defendant, (See
19
     Docket Entry # 101).
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           The property posted for the defendant’s pre-trial release is no longer needed to
21
     secure the defendant’s presence since the case has now concluded.
22
           The defense is requesting this Court Order that the Clerk of the Court
23
     exonerate and release the bail bond and deeds of trust filed with this Court on
24
     September 3 and September 18, 2003 (See Docket Entries # 16, 17 and 21) regarding
25
     the following property: the commonly know street address of 3116 Juliet Road,
26
     Stockton, California, 95205 with the legal description of the property being: Lot 145,
27
28                                              1
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 1   as shown upon map entitled, the Villa Unit No. 3, filed for record August 5, 1986, in
 2   volume 27 of maps and plats, page 90, San Joaquin county records.
 3
 4                                         ORDER
 5
 6
           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 8   Dated: November 29, 2007
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11                                       GARLAND E. BURRELL, JR.
                                         United States District Judge
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